                                                                               CLERK'S OFFICE U.S. DIST. COURT
                                                                                       AT ROANOKE , VA
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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF VIRGINIA B~:uL'?fif~~~·f~RK
                                DANVILLE DIVISION                bE~~

   UNITED STATES OF AMERICA                     )
                                                )      Case No.: 4:18-cr-00012
   v.                                           )
                                                )
                                                )
   DASHAWN ROMEER ANTHONY, )
   etal.,                                       )
                                                )      By:   Michael F. Urbanski
            Defendants.                         )      Chief United States District Judge

                                               ORDER

            This matter comes before the court on a number of motions and issues, mainly

   concerning the government's interlocutory appeal of the July 23, 2019 dismissal of several

   counts brought against defendants. ECF No. 411. The court held a hearing regarding this

   appeal and these motions on November 20, 2019. The court now rules as follows:

            Defendant Montez Lamar Allen's motion to continue, ECF No. 468, joined by all

   defendants at the November 20 hearing, is GRANTED. Trial of this matter is continued to

   August 24, 2019. It is hereby ORDERED that the period of time necessitated by this

   continuance is excluded for speedy trial purposes pursuant to 18 U.S.C. § 3161(h)(7)(A).

            Defendant J avontay J acquis Holland's motion to set additional pretrial hearing dates,

   ECF No. 343, is GRANTED. An amended Scheduling Order is forthcoming.

            Counsel for government indicated at the     ovember 20 hearing that the government

   wishes to withdraw its motion to hold this trial in Danville, Virginia. Accordingly, this

   motion, ECF No. 371, is WITHDRAWN.




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         Defendants J alen Cormarrius Terry and Montez Lamar Allen's motions regarding

   relief from the scheduling order, ECF   os. 471 and 472, are GRANTED. As stated above,

   an amended Scheduling Order is forthcoming.

         It is so ORDERED.

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                                            M. ael F. Urbanski
                                            Chief United States DistrictJudge




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